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                                                    #:9046
                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          2:21-cv-04758-JVS(JDEx)                                     Date    June 28, 2023

 Title             Guangzhou Yucheng Trading Co., Ltd. v. dbest Prods., Inc.



 Present: The                    James V. Selna, U.S. District Court Judge
 Honorable
                          Elsa Vargas                                          Not Present
                         Deputy Clerk                                       Court Reporter
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                          Not Present

 Proceedings:           [IN CHAMBERS] Order Regarding Motion of Contempt Against
                        GYT and Its Counsel [248]


       Defendant/Counterclaimant dbest products, Inc. (“dbest”) moves to hold
Plaintiff/Counter-Defendant Guangzhou Yucheng Trading Co., Ltd. (“GYT”) and its
counsel, Glacier Law LLP (“Glacier”) in contempt for violating the Court’s April 28,
2023 Order. (Motion (“Mot.”), Dkt. No. 248.) The matter is fully briefed. (Opposition
(“Opp’n), Dkt. No. 255; Reply, Dkt. No. 261.) The parties appeared for oral argument on
June 26, 2023. This Order reflects the Court’s final order on the instant motion.

     For the following reasons, the Court GRANTS in part and DENIES in part the
motion.

                                                    I. BACKGROUND

      After having been largely resolved by summary judgment, this patent-infringement
matter proceeded to trial on the issue of damages on February 28, 2022. (Dkt. No. 186.)
The jury found that GYT willfully infringed dbest’s U.S. Patent No. 9,233,700 (’700
Patent) and awarded dbest lost profits of $463,136. (Special Verdict, Dkt. No. 191.)

       After trial, the Court entered an order on April 28, 2023, granting dbest a
permanent injunction and awarding dbest treble damages, attorneys’ fees in the amount of
$692,461.40, plus costs and interest (“the Order”). (Order, Dkt. No. 236.) GYT was
solely responsible for payment of attorneys’ fees. (Id. at 10.) The Order required GYT,
its agents, and its counsel, Glacier Law, and “all others acting in concert or participation
with [it]” to disclose to dbest within seven days all information regarding the infringing
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products, serve GYT’s storage agents with a copy of the Order, and to promptly take
necessary measures to turn over the infringing products to Dbest. (Id. at 16.)

      GYT stores approximately 4,200 units of infringing products in New Jersey.
(Declaration of Alley Ye (“Ye Decl.”) ¶ 4, Dkt. No. 157; Declaration of Ehab Samuel
(“Samuel Decl.”), Ex. O). Its corporate representative previously testified that it has
roughly 3,000 to 4,000 units in China. (Samuel Decl., Ex. A).

      Shortly after Glacier Law forwarded the Order to GYT on May 4, 2023, GYT
attempted to fire Glacier Law immediately. (See Declaration of Tianyu Ju (“Ju Decl.”),
Dkt. No. 237.) Glacier Law moved to withdraw. (Dkt. No. 238.) The Court granted the
motion on June 22, 2023, contingent on GYT securing new counsel. (See Dkt. No. 262.)

      On May 9, 2023, Glacier Law provided dbest with the name and contact
information of the storage warehouse in New Jersey. (Ju Decl. ¶ 16.) It also mailed the
Order to the warehouse and instructed the vendor to preserve the inventory. (Id., Ex. J, at
2.) But the New Jersey vendor refused to release the units until GYT paid shipping fees
and outstanding storage fees. (Samuel Decl. ¶ 26; id., Ex. O.) GYT, through its
corporate representative Ms. Ye, informed its counsel on May 17, 2023, that GYT “is
facing bankruptcy” and could not afford to pay the fees owed to the New Jersey vendor.1
(Ju Decl. ¶ 24.) Glacier Law continued to urge GYT to pay the fees without avail. (Id. ¶
41.) Glacier Law refused to pay the costs on behalf of GYT. (Samuel Decl., Ex. Z.)

       GYT represents that someone from the warehouse told her that dbest picked up the
units on June 7 and June 8. (Wang Decl. ¶ 3, Dkt. No. 257-1.) At oral argument, dbest
confirmed that most of the New Jersey inventory had been picked up. It also confirmed
that the total, out-of-pocket costs of the turn-over was $17,000, including back storage,

         1
          While not a salient issue, the Court observes, from the record, a disturbing pattern of
mudslinging between counsels, which have clearly obstructed their ability meet and confer on relatively
simple communication issues. To take one example, dbest’s counsel, having received an email that
suggested the existence of multiple “overseas” factories, tried to clarify where these factories were
located. (Samuel Decl., Ex. R.) This led dbest to believe there were multiple factories in China, when
in reality, “overseas” was used by GYT’s representative to refer to the United States. (Ju Decl. ¶ 24.)
This lead to an unnecessary accusations that GYT was hiding multiple factories and incessant back-and-
forth. Counsels could have easily resolved any confusion before resorting to accusing the other of
nefarious conduct. Counsels are reminded of their duties of professionalism.
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shipping, and travel fees.

       As for the units in China, it was discovered only after dbest filed the Motion that
the units have since been destroyed. While Glacier Law did not “specifically” request
GYT provide information about inventory in China, it requested “all the inventory in
United States or elsewhere.” (Ju Decl. ¶ 17, Dkt. No. 255-1 (emphasis in original).)
Because of the breakdown in communications between Glacier Law and GYT, GYT
refused to provide information about inventory in China to Glacier Law. (See Ju Decl. ¶
34; Samuel Decl., Ex. X.) On May 23, 2023, Glacier Law retained a Chinese counsel to
investigate the whereabouts of GYT’s inventory in China. (Ju Decl. ¶ 35.)

      On June 5, 2023, Chinese counsel, Ms. Lu, discovered the location of the Chinese
factory but learned that the factory had disposed of the goods because GYT did not make
any payments. (Declaration of Wenlong Lu (“Lu Decl.”) ¶ 6, Dkt. No. 255-34.) Glacier
Law relayed the information to dbest’s counsel the same day. (Ju Decl. ¶ 44.)

       Dbest now moves to hold both GYT and Glacier Law jointly and severally liable
for the value of inventory in the U.S. and China. (See generally Mot.)

                                        II. LEGAL STANDARD

      District courts have inherent and statutory authority to enforce compliance with
orders through civil contempt. Spallone v. United States, 493 U.S. 265, 276 (1990); 18
U.S.C. § 401. Civil contempt is a “severe remedy,” so “principles of basic fairness
require that those enjoined receive explicit notice of what conduct is outlawed before
being held in civil contempt.” Taggart v. Lorenzen, 139 S. Ct. 1795, 1802 (2019)
(cleaned up).

       To hold a party in civil contempt, the Court must find, based on clear and
convincing evidence, that (1) the party violated a court order, (2) beyond substantial
compliance, and (3) not based on a good faith and reasonable interpretation of the order.
Taggart, 139 S. Ct. at 1802. Violation of a court order is shown by the party’s “failure to
take all reasonable steps within the party’s power to comply.” Reno Air Racing Ass’n.,
Inc. v. McCord, 452 F.3d 1126, 1130 (9th Cir. 2006). If the moving party meets its
burden, the burden “then shifts to the contemnors to demonstrate why they were unable
to comply,” and they must show they took “every reasonable step to comply.” F.T.C. v.
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Affordable Media, 179 F.3d 1228, 1239 (9th Cir. 1999); Stone v. City & County of San
Francisco, 968 F.2d 850, 856 n.9 (9th Cir. 1992).

       To meet the clear and convincing standard, the moving party must “place in the
ultimate factfinder an abiding conviction that the truth of its factual contentions are
highly probable.” Colorado v. New Mexico, 467 U.S. 310, 316 (1984) (internal
quotation marks and citation omitted). Civil contempt “should not be resorted to where
there is a fair ground of doubt as to the wrongfulness of the defendant’s conduct.”
Taggart, 139 S. Ct. at 1801–02.

       Once a court finds a party in contempt, it has discretion to impose sanctions.
General Signal Corp. v. Donallco, Inc., 787 F.2d 1376, 1379 (9th Cir. 1986). Sanctions
“may be imposed to coerce obedience to a court order, or to compensate the party
pursuing the contempt action for injuries resulting from the contemptuous behavior, or
both.” General Signal Corp. v. Donallco, Inc., 787 F. 2d 1376, 1379–80 (9th Cir. 1986)
(citing United States v. United Mine Workers, 330 U.S. 258, 303–04 (1947)). Coercive
sanctions are payable to the court, and should be designed to bring about the desired
result and to reflect the character and magnitude of harm if that result is not achieved. Id.
at 1380. Compensatory sanctions are payable to the wronged party, and must be based on
the actual losses as a result of the contemptuous conduct. Id.

                                           III. DISCUSSION

         A.      Whether GYT Should Be Held in Contempt

      Dbest argues that GYT violated the Order by failing to disclose the location of its
Chinese inventory and failing to turn over the inventory located in either New Jersey or
China.

                 1.     Disclosure of Chinese Inventory

      Without any explanation, GYT simply disregarded the Court’s Order requiring it to
disclose the whereabouts of its overseas inventory. (Order 16 (requiring GYT to “within
seven days of this order, provide dbest . . . with all necessary information about [the]
inventory, in the United States or elsewhere” (emphasis added).) GYT’s own corporate
representative previously testified that there were infringing products somewhere in
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China. (Samuel Decl., Ex. A (deposition transcript).) Thus, GYT knew it was required
to disclose the location of these units or otherwise inform dbest that they were since
destroyed. But it opted to provide only information about the inventory in the U.S.
without explaining the status of its overseas inventory. (Ju Decl. ¶ 17). When its own
counsel repeatedly asked for information about the Chinese inventory, GYT simply
refused to communicate with its counsel and in turn, dbest. (Ju Decl. ¶ 34.) Dbest was
only able to learn of the location of the Chinese inventory once Glacier Law retained a
separate Chinese counsel to perform an investigation. (Id. ¶¶ 35, 44.)

      GYT offers no explanation for why it continually refused to reveal or explain the
disposition of its overseas inventory. Therefore, GYT is held in contempt for failing to
disclose within seven days all necessary information, including addresses and contact
information, about the inventory stored in China.

                 2.     Failure to Turn Over Inventory

       The issue of turning over the Chinese goods is moot given that these units have
been destroyed. (See Lu Decl. ¶ 6.) But GYT has entirely failed to “promptly take all
measures necessary” to turn over the infringing products from New Jersey. (Order 16.)
This includes remitting payment to its own vendor for the release and shipment of the
4,200 units of infringing products. GYT simply did nothing to facilitate the turn over of
the infringing products. Thus, the burden shifts to GYT to explain why it could not
comply.

       According to GYT, the sole reason why it could not comply with the Order is
because it could not afford to. Ms. Ye explained that it could not pay the storage fees
because GYT was “facing bankruptcy” and was “letting its employees go.” (Ju Decl. ¶
24.) This is not the first time GYT could not meet its financial obligations pursuant to a
court order. (See Dkt. Nos. 171, 183.)

       The “present inability” to pay may constitute a defense to civil contempt. United
States v. Rylander, 460 U.S. 752, 757 (1983) (emphasis in original). But the alleged
contemnor bears the burden of production, showing “categorically and in detail” why it is
unable to pay. NLRB v. Trans Ocean Exp. Packing, Inc., 473 F.2d 612, 616 (9th Cir.
1973). GYT has failed to meet that burden here. No evidence has been presented to
support its claim, beyond a vague statement by Ms. Ye that merely suggests financial
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hardship. Therefore, the Court finds that GYT is in contempt for failing to take necessary
steps to turn over the infringing goods in its New Jersey warehouse, which includes
paying the necessary fees.

                 3.     Sanctions

       The Court now considers the appropriate sanctions to impose. Sanctions serve
either to compel obedience to the court order or compensate the injured party resulting
from the noncompliance. General Signal Corp., 787 F. 2d at 1379–80. “The ability of a
party to pay is one factor a court should consider when imposing sanctions,” and the
sanctioned party carries that burden of production. Gaskell v. Weir, 10 F.3d 626, 629
(9th Cir. 1993).

       Dbest seeks to hold GYT liable for the value of the inventory in the United States.
(Mot. 3.) But since the filing of the Motion, it is unclear whether the units were turned
over to dbest on June 7 and June 8. (Declaration of Wei Wang (“Wang Decl.”) ¶ 3, Dkt.
No. 257-1 (declaring that she was told by someone at the warehouse that dbest picked up
the units).) Dbest does not confirm whether this is true in its Reply. (Samuel Decl., Dkt.
No. 261-1.)

       The inventory in New Jersey has since been turned over, and the dbest should be
compensated for the cost of pick up. At the hearing on the Motion, dbest represented that
the total cost is $17,000. Accordingly, the Court GRANTS sanctions against GYT in the
amount of $17,000.

         B.      Whether Glacier Law Should Be Held in Contempt

      Dbest also seeks to hold Glacier Law independently in contempt for failing to
disclose GYT’s inventory information or “promptly take all measures” to facilitate the
turnover.

      While Glacier Law was subject to the Order, (see Fed. R. Civ. P. 65(d)(2)(B);
Order 16), it cannot be held in contempt for failing to take actions beyond its control, like
forcing its client to pay or conjuring up information it did not have.


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       In fact, the record reflects that Glacier Law did all it could to facilitate its client’s
compliance with the Order. It provided the contact information of the New Jersey vendor
to dbest within seven days, mailed a copy of the Order to the vendor, and instructed the
vendor to preserve the inventory. It urged GYT to pay the necessary fees and disclose
information about the overseas inventory, despite GYT having ceased communications
with it. And when its client simply refused to speak to Glacier Law any further, Glacier
Law hired a Chinese counsel on May 23, 2023, to perform an investigation about the
whereabouts of the inventory. (Lu Decl. ¶ 2.) Upon learning that the overseas inventory
was destroyed, it immediately informed dbest. (Id. ¶ 6; Ju Decl. ¶ 44.)

       At oral argument, dbest argued that Glacier Law should be held in contempt for
previously representing—recklessly—to the Court and the parties in December 2022 that
“[GYT] does have attachable property i.e., inventory stored with GYT’s logistic company
meaning that there is no risk of defendants being unable to recover costs and attorney’s
fees to which they are entitled.” (Opposition, Dkt. No. 143, at 1 (emphasis added).) In
making this statement, Glacier Law relied on the truth of the representations made by its
corporate representative, which were made under the penalty of perjury in August 2022 at
a deposition:

         Q:      At the time you were — of the take down by Amazon, how many units did
                 you have in the inventory?
         A:      . . . in China they were about 3- to 4,000 units.
         ...
         Q:      What about the units in China? What happened to those?
         A:      They are still being — they are still stored in the factory.
         Q:      You haven’t sold any of those?
         A:      No.

(Ex. A, at 59:6–60:23.) Glacier Law did not independently investigate its client’s claim
until May 23, 2023, after attorney-client communications broke down. (Ju Decl. ¶ 35.)
Glacier Law argues that it was reasonable to have relied on its client’s representations.

      Dbest appears to making a new argument, i.e., that Glacier Law should be
sanctioned for a Rule 11 violation, not a violation of a court order. See Fed. R. Civ. P.
11; Bus. Guides, Inc. v. Chromatic Communs. Enters., 498 U.S. 533, 551 (1991)
(imposing an affirmative duty on the attorney to conduct an objectively reasonable
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inquiry into the facts and the law, conclude the document is well grounded in both, and
act with a proper motive before filing a document with the Court). However, dbest’s
Motion is based on the court’s inherent power, not Rule 11. (See Mot. 7.) Accordingly,
the Court declines to resolve the merits of dbest’s Rule 11 challenge to Glacier Law. The
question before the Court is whether Glacier Law violated a specific court order based on
clear and convincing evidence. Absent such evidence, the Court cannot hold counsel in
contempt.

       At most, Glacier Law’s conduct throughout this litigation can be described as
incompetent. But that alone does not warrant a finding of contempt. Turning to the
relevant conduct here, Glacier Law timely asked GYT to supply all information about
“all the inventory in United States or elsewhere.” (Ju Decl. ¶ 17 (emphasis in original).)
When GYT turned over only information about its New Jersey inventory, Glacier Law
immediately provided this information to dbest. (Ju Decl. ¶ 16.) When Glacier Law
could not obtain information about the Chinese inventory from its client, it conducted its
own independent investigation. As noted above, the foregoing constitutes substantial
compliance with the Court’s Order.

         The Motion is DENIED as to Glacier Law.

                                           IV. CONCLUSION

     For the foregoing reasons, the Court GRANTS in part and DENIES in part the
motion. Sanctions are ORDERED against GYT in the amount of $17,000.

                 IT IS SO ORDERED.




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